UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOEL LOWY, x Docket No. 12-cv-1857
Plaintiff,
v. Disclosure Statement
AMERICAN NATIONAL INSURANCE CO.
Defendant.
Xx

DISCLOSURE STATEMENT

Pursuant to Federal Rule of Civil Procedure 7.1, Defendant American National Insurance
Company hereby states that it has no parent company and that there is no publicly held
corporation owning 10% or more of its stock. Pursuant to Rule 7.1, two copies of this Disclosure

Statement are being filed.

Respectfully submitted,

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